    Case 1:23-cv-00134-JMS-KJM Document 1 Filed 03/17/23 Page 1 of 7                                            PageID.1
. OR IGINAL
                          IN THE UNITED STATES DISTRICT
                        FOR THE _ _ _ DISTRICT OF \1
                                                                   ii~~; (j   ,
                                                                                               FILED IN THE
                                                                                       UNITED STATES DISTRICT COURT
                                                                                           DISTRICT OF HAWAII
                                       - - - - DMSION
                              (Write the D istrict and Division, ifany, of                         MAR 17 2023
                              the court in which the complaint is filed.)
                                                                                       at_LLo'clock andi lmin._!LM
                                                                                       CLERt ,L~ : S. DISTRICT COURT
                                                                                             .,..,,,,,.,,'-/4   IPf' ~ ~
                                                            Complaint for a Civil Case

                                                            CaseNo.CV23 00134 KJM
  (Write the full name of each plaintiffwho is filing
                                                            (to be filled in by the Clerk's Office)
  this complaint. If the names ofall the plaintiffs .
  cannot fit in the space above, please write "see
                                                            Jury Trial:      D Yes ~ No
  attached" in the space and attach an additional
                                                                             (check one)
  page with the full list ofnames.)


     -against-

     (_,IC-, \-1 o Y) 0          [   LI / f1   ·
   -5~~ f"               d::t!"*('-s D
  (Write the full name ofeach defendant who is
  being sued. If the names ofall the defendants
  cannot fit in the space above, please write "see
  attached" in the space and attach an additional
  page with the full list ofnames.)
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I.      The Parties to This Complaint

        A.    The Plaintiff(s)

              Provide the _information below for each plaintiff named in the complaint. Attach
              addition~ pages if needed.

                     Name
                     Street Address
                     City and County
                     State and Zip Code
                     Telephone Number
                     E-mail Address·

        B.    The Defendant(s)

              Provide the information below for each defe~dSI?,t named in the complaint,
              whether the defendant is an individual, a government agency, an organization, or
              a corporation. For an individual defendant; include the person's job or title (if
              known). Attach additional pages if needed. .

              Defendant No. 1
                     Name
                     Job or _Title
                     (ifknown)
                     Street Address
                     City and Co1:1Ilty
                     State and Zip Code
                     Telephone Number
                     E-mail Address
                     (ifknown)

              Defendant No; 2 .
                     Name
                     Job or Title
                     (if known)
                     Street Address
                     City and County


                                               2
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                     ·state and Zip Code
                     Telephone Number
                     E-mail Address
                     (ifknown)

             Defendant No. 3
                     Name
                     Job or Title
                     (ifknown)
                     Street Address
                     City and County
                     State and Zip Code
                     Telephone-Number
                     E-mail Address
                     (ifknown)

             Defendant No. 4
                     Name
                     Job or Title
                     (ifknown)
                     Street Address
                     City and County
                     State and Zip Code
                     Telephone Number
                     E-mail Address
                     (ifknown)

II.   Basis for Jurisdiction

      Federal courts are courts of limited jurisdiction (limited power). Generally, only two
      types of cases can be heard in federal court: cases involving a federal question and cases
      involving diversity of citizenship of the p'art~es. Under 28 U.S.C. § 1331, a case arising
      under the United States Constitution or fedetal laws or treaties is a federal question ·case.
      Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of another
      State or nation and the amount at stake 1s more than $75,000 1s a d1versrty of c1t1zenshtp
      case. In a diversity of citizenship case, no defendant may be a citizen of the same State
      as any plaintiff.


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   What is the basis for federal court jwisdiction? (check all that apply)
         ~ Federal question                            !!I Diversity of citizenship

   Fill out the paragraphs in this section that apply to this case.

   A.      If the Basis for Jurisdiction Is a Federal Question




   B.    . If the Basis for Jurisdiction Is Diversity of Citizenship

           1.     The Plaintiff(s)

                   a.      If the pl~ntiff is an individual.
                          The plaintiff, (name) _ _ _ _ _ _ _ ___, is a citiz~n of
                          the State of (name)_. _ _ _ _ _ _ _ __

                  b.      If the plaintiff is a corporation
                          The plaintiff, (name) _ _ _ _ _ _ _ ___, is incorporated
                          under the laws of the State of (name) _ _ _ _ _ _ _ __,,
                          and has its principal place of business in the State of (name)


                  (if more tha'!- one plaintiff is named in the complaint, attach an additional
                  page providing the same information for each additional plaintiff.)

          2.      The Defendant(s)

                  a.      If the defendant is an individual

                          The defendant, (name) _ _ _ _ _ _ _ ____. is a citizen of
                          the State of (name) ·                   Or is a citizen of
                          (for.eign nation)




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                      b.      If the defendant is a corporation
                              The defendant, (name) _ _ _ _ _ _ _ _ _ _ is
                              incorporated under the laws of the State of (name)
                              _ _ _ _ _ _ _ _ _ and has its principal place of
                              business in the State of (name) _ _ _ _ _ _ _ _ _. Or is
                              incorporated under the laws of (foreign nation)
                              _ _ _ _ _ _ _ __, and has its principal place of
                              business in (name) _ _ _ _ _ _ _ __
                                                                                                              L
                      (If more than one defendant is named in the complaint, attach an
                      additional page providing the same information for each additional
                      defendant.)

              3.      The Amount in Controversy .

                      The arilount in controve            ount the plaintiff claims the defendant
                      owes or the amount at S       IS more than $75,000, not COunting,interest
                                of court, because ex · ·                              ·




Ill.   Statement of Claim

       Write a short and plain statement of the claim. Do not make legal arguments. State as
       briefly as poss~ble the facts showing that each plaintiff is entitled to the damages or ~ther
       relief sought. State how each defendant was involved and what each defendant did that
       caused the plaintiff harm or violated the plaintiff's rights, including the dates and places
       of that involvement or conduct. If more than one claim is asserted, number each claim
       and write a short and plain statement of each claim in a separate paragraph. Attach
       additional pages if needed.
                                                               -




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        IV.     Relief

                State briefly and precisely what damages or other relief the plaintiff asks the court to
                order. Do not make legal arguments. Include any basis for claiming that the wrongs
                alleged are continuing at the present time. Include the amounts of any actual damages
                claimed for the acts alleged and the basis for these amounts. Include any punitive or
                exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
                actual or punitive money damages.




                --+"=--+-~~~-F--½~+.'t---'--~-t"--+-~--'----+-~'---r--'""-'-                                   4fre~/
                --"--'~~--=;,___-4-L-~.J.:!../l-i--!1--...J...+AA--=-~_____,_-4A----'--"---"-=-i,...,,<.LJ-~o   t Fo trll<J
        V.      Certification and Closing
                                                                                                          fV    l 7~,
                Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
                knowledge, information, and belief that this complaint: (1) is not being presented for an
                improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
                cost of litigation; (2) is supported by existing law or by a nonfrivolous argument for
                extending, modifying, or reversing existing law; (3) the factual contentions have
                evidentiary support or, if specifically so identified, will likely have evidentiary support
                after a reasonable opportunity for further investigation or discovery; and (4) the
                complaint otherwise complies with the requirements of Rule 11.

                A.       For Parties Without an Attorney

                         I agree to provide the Clerk's Office with any changes to my address where case-
                         related papers may be served. I understand that my failure to keep a current
                         address on file with the Clerk's Office may result in the dismissal of my case.

                         Date of s;gning:   ~ 20;J}
                         Signature of Plaintiff
                         Printed Name of Plaintiff


- - - - - - -B-. - - For-Attorneys- - - - - - - - -- - - -- - -- - - - - - - - - - -- - -- --

                         Date of signing: ~            20_:: r3
                                                          6
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        Signature of Attorney
        Printed Name of Attorney
        Bar Number
        Name of Law Firm
        Address
        Telephone Number
        E-mail Address




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